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NVB 1007−7 (Rev. 8/16)


                                UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEVADA


 IN RE:                                                          BK−21−50466−btb
                                                                 CHAPTER 13
 JULIANA MAYER LOZA


                                     Debtor(s)                   NOTICE OF INCOMPLETE
                                                                 AND/OR DEFICIENT FILING




NOTICE IS GIVEN that the above debtor(s) filed a voluntary petition on 6/22/21. Pursuant to the Federal Rules of
Bankruptcy Procedure and the Local Rules for the District of Nevada, the Clerk has noted deficiencies to the petition
and/or schedules and statements of this debtor(s) as listed below. This Notice advises the debtor(s) of deficiencies
noted by the Clerk in the filing of the Voluntary Petition and related documents. This Notice does not cover all duties
and requirements a debtor must perform, and there may be other deficiencies not noted below. Failure to cure the
deficiencies within the time allowed by law or by an extension granted by court order may result in the
dismissal of this case.


SCHEDULES, STATEMENTS AND CERTIFICATIONS:

   *      The following schedules, required pursuant to Fed. R. Bankr. P. 1007 and LR 1007, were not filed with
          the Voluntary Petition:
            *      Declaration About an Individual Debtor's Schedules (Official Form 106Dec)
            *      Summary of Your Assets and Liabilities and Certain Statistical Information (28 U.S.C. Section
                   159)(Official Form 106Sum)
            *      Schedule A/B: Property (Official Form 106A/B)
            *      Schedule C: Property You Claim as Exempt (Official Form 106C)
            *      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            *      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            *      Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G)
            *      Schedule H: Your Codebtors (Official Form 106H)
            *      Schedule I: Your Income (Official Form 106I)
            *      Schedule J: Your Expenses (Official Form 106J)
   *      The Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107), required
          pursuant to Fed. R. Bankr. P. 1007(b) and (c), was not filed with the Voluntary Petition.


DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S):

   *      Pursuant to Fed. R. Bankr. P. 2016(b), the attorney for the debtor(s) has failed to file a Disclosure of
          Compensation (Form 2030) as required by 11 U.S.C. Section 329.


STATEMENT OF SOCIAL SECURITY NUMBER/TAX IDENTIFICATION NUMBER:

   *      Pursuant to Fed. R. Bankr. P. 1007(f), the debtor(s) has failed to file a verified Statement About Your
          Social Security Numbers (Official Form 121).
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STATEMENT OF CURRENT MONTHLY INCOME AND MEANS TEST CALCULATION:

   *    The Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
        and/or Chapter 13 Calculation of Your Disposable Income) (Official Forms 122C−1 and 122C−2),
        required pursuant to Fed. R. Bankr. P. 1007(b)(6) and (c), were not filed at the same time as the
        Voluntary Petition.


CHAPTER 13 PLAN:

   *    A Chapter 13 Plan, required pursuant to Fed. R. Bankr. P. 3015(b), was not filed with the Voluntary
        Petition.



NOTICE IS FURTHER GIVEN that the Federal Rules of Bankruptcy Procedure, Local Rules and Electronic Filing
Procedures are available on the court's web site at http://www.nvb.uscourts.gov.



Dated: 6/23/21


                                                          Mary A. Schott
                                                          Clerk of Court
